 1                                                      THE HONORABLE RICHARD A. JONES
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
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 9   PORT OF SEATTLE,                                No. 2:22-cv-00993-RAJ

10                         Plaintiff,                DECLARATION OF MARK W.
                                                     SCHNEIDER IN SUPPORT OF THE
11          v.                                       BOEING COMPANY’S MOTION TO
                                                     STAY
12   THE BOEING COMPANY,

13                         Defendant.

14
     I, Mark W. Schneider, hereby declare:
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            1.     I have personal knowledge of the facts stated below and am competent to testify
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     regarding the same. I am counsel for defendant The Boeing Company in this matter.
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            2.     I have represented Boeing in connection with the Lower Duwamish Waterway
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     since 1996. In 2000, I assisted Boeing in the negotiation of the administrative order on consent
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     with EPA, the Port of Seattle, King County, and the City of Seattle for the performance of the
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     remedial investigation/feasibility study. I have represented Boeing since that time in the
21
     implementation of the order and several amendments.
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            3.     I assisted Boeing in the negotiation of the Alternative Dispute Resolution
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     Memorandum of Agreement in 2013 and 2014, and I have served as Boeing’s lead counsel in the
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     eight-year Duwamish Allocation process. Attached as Exhibit A is a true and correct copy of the
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     Alternative Dispute Resolution Memorandum of Agreement, which was signed in 2014. The
26
     schedule attached to the agreement has been updated several times.
                                                                           Perkins Coie LLP
     DECLARATION OF MARK W. SCHNEIDER ISO                             1201 Third Avenue, Suite 4900
     BOEING’S MOTION TO STAY                                            Seattle, WA 98101-3099
     (No. 2:22-cv-00993-RAJ) – 1                                          Phone: 206.359.8000
                                                                           Fax: 206.359.9000
 1          4.        Exhibit A describes the selection of the allocator (in Section 4) and the process for
 2   conducting the Duwamish Allocation (in Section 5).
 3          5.        The Port of Seattle, Boeing, and 43 other entities were “Participating Parties” (as
 4   that term is defined in Section 1.12 of Exhibit A) in the Duwamish Allocation process.
 5          6.        The objective of the allocation process was to allocate, among the Participating
 6   Parties, 100% of past and estimated future costs for cleaning up the Duwamish Waterway. See Ex.
 7   A at 1 & Sections 1.2, 1.10. Consistent with this objective, the final allocation report allocates
 8   100% of past and estimated future costs to the Participating Parties and the United States.
 9          7.        As part of the Duwamish Allocation, the allocator issued his final allocation report.
10   On July 11, 2022, Boeing accepted the share assigned to it in the final allocation report. Other
11   Participating Parties also accepted their shares.
12          8.        Exhibit A (in Section 12.2) prohibits a Participating Party that remains in the
13   Duwamish Allocation process from filing suit against another Participating Party. Boeing remains
14   a Participating Party because it accepted its share. The Port of Seattle filed suit against Boeing on
15   July 19, 2022.
16          9.        I have participated in many discussions with representatives of the Environmental
17   Protection Agency, the Department of Justice, and other Participating Parties regarding the
18   Duwamish Allocation, negotiation of cash-out agreements with Duwamish Allocation parties, and
19   negotiation of a consent decree to complete the cleanup of the Lower Duwamish Waterway. These
20   potential agreements are described in Sections 8.2 and 8.3 of Exhibit A and are a contemplated
21   part of the Duwamish Allocation.
22          10.       Boeing accepted the share the allocator assigned to it in the Final Allocation Report
23   so that it could move forward with negotiating settlement agreements with the remaining
24   Participating Parties and a consent decree with EPA, consistent with Exhibit A. The remaining
25   Participating Parties in the Duwamish Allocation process similarly wish to proceed with
26   negotiating the cash-out settlements and a consent decree with EPA consistent with Exhibit A.

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 1          11.        I have participated in many discussions among counsel for EPA, DOJ and the
 2   Participating Parties in which EPA counsel said that EPA would defer issuing special notice letters
 3   and begin consent decree negotiations until after the final allocation report was issued. During
 4   those calls, EPA counsel said that special notice letters would be issued and consent decree
 5   negotiations would start in October 2022. Attached as Exhibit B is a true and correct copy of a
 6   July 15, 2022 email from EPA’s counsel to all Duwamish Allocation Participating Parties stating
 7   that EPA would “initiate RD/RA negotiations in October.” This quoted language is highlighted in
 8   Exhibit B. “RD/RA” means remedial design/remedial action, and the EPA consent decree will
 9   require the parties to conduct the remaining remedial design and remedial action to complete the
10   cleanup of the Lower Duwamish Waterway.
11          12.        The remaining Participating Parties in the Duwamish Allocation have begun
12   settlement negotiations in which parties with smaller assigned shares of responsibility, referred to
13   as “cash-out” parties, will pay a lump sum amount to the “performing parties” that will perform
14   the cleanup work. Those settlement discussions will continue. In addition to those settlement
15   discussions among the remaining Participating Parties, the remaining Participating Parties and
16   EPA will begin negotiations in October 2022 of a consent decree to complete the investigation and
17   cleanup of the Lower Duwamish Waterway. In that consent decree, certain “performing parties”
18   will agree to conduct the cleanup using their own funds and, in part, the funds they obtain in
19   settlement from the cash-out parties. Boeing expects to be a performing party.
20          13.        Attached as Exhibit C is a true and correct copy of an email from counsel for the
21   City of Seattle, a Participating Party, expressing the City’s support for Boeing’s motion to stay.
22          14.        Attached as Exhibit D is a true and correct copy of an email from counsel for Ash
23   Grove Cement Company, a Participating Party, expressing the company’s support for Boeing’s
24   motion to stay.
25          15.        Attached as Exhibit E is a true and correct copy of an email from counsel for
26   Crowley Marine Services, Inc. and 8th Avenue Terminals Inc. expressing the companies’ support

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 1   for Boeing’s motion to stay. The companies jointly participate in the Duwamish Allocation as a
 2   single Participating Party.
 3              16.    Attached as Exhibit F is a true and correct copy of an email from counsel for Puget
 4   Sound Truck Lines, a Participating Party, expressing the company’s support for Boeing’s motion
 5   to stay.
 6              17.    Attached as Exhibit G is a true and correct copy of an email from counsel for
 7   Hurlen; Hurlen Construction Company; Hurlen Logistics, LLC; Six Twenty South Logistics, LLC;
 8   and Six Fourteenth South Logistics, LLC expressing the companies’ support for Boeing’s motion
 9   to stay. The companies jointly participate in the Duwamish Allocation as a single Participating
10   Party.
11              18.    Attached as Exhibit H is a true and correct copy of an email from counsel for Delta
12   Marine Industries, a Participating Party, expressing the company’s support for Boeing’s motion to
13   stay.
14              19.    Attached as Exhibit I is a true and correct copy of an email from counsel for
15   Chiyoda International Corporation, a Participating Party, expressing the company’s support for
16   Boeing’s motion to stay.
17              20.    Attached as Exhibit J is a true and correct copy of an email from counsel for
18   Northwest Container Services, Inc., a Participating Party, expressing the company’s support for
19   Boeing’s motion to stay.
20              21.    Attached as Exhibit K is a true and correct copy of an email from counsel for
21   Glacier Northwest, Inc., a Participating Party, expressing the company’s support for Boeing’s
22   motion to stay.
23              22.    Attached as Exhibit L is a true and correct copy of an email from an attorney at the
24   law firm Esbrook P.C. informing Boeing that the firm’s client, a Participating Party, supports
25   Boeing’s motion to stay.
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                                                                                 Fax: 206.359.9000
 1           23.       Attached as Exhibit M is a true and correct copy of an email from counsel for
 2   Seattle Iron & Metals Corporation, a Participating Party, expressing the company’s support for
 3   Boeing’s motion to stay.
 4           24.       Attached as Exhibit N is a true and correct copy of an email from counsel for
 5   PACCAR Inc., a Participating Party, expressing the company’s support for Boeing’s motion to
 6   stay.
 7           25.       Attached as Exhibit O is a true and correct copy of an email from counsel for
 8   Manson Construction Co., a Participating Party, expressing the company’s support for Boeing’s
 9   motion to stay.
10           26.       Attached as Exhibit P is a true and correct copy of an email from counsel for
11   Lafarge North America Inc., a Participating Party, expressing the company’s support for Boeing’s
12   motion to stay.
13           27.       Attached as Exhibit Q is a true and correct copy of an email from counsel for
14   Holcim (US) Inc., a Participating Party, expressing the company’s support for Boeing’s motion to
15   stay.
16           28.       Attached as Exhibit R is a true and correct copy of an email from counsel for
17   SeaTac Marine Properties LLC and SeaTac Marine Services expressing the companies’ support
18   for Boeing’s motion to stay. The companies jointly participate in the Duwamish Allocation as a
19   single Participating Party.
20           29.       Attached as Exhibit S is a true and correct copy of an email from counsel for
21   Hanson Permanente Cement, Inc. and Kaiser Gypsum Co., Inc. expressing the companies’ support
22   for Boeing’s motion to stay. The companies jointly participate in the Duwamish Allocation as a
23   single Participating Party.
24           30.       Attached as Exhibit T is a true and correct copy of an email sent on behalf of 12
25   separate Participating Parties expressing those parties’ joint support for Boeing’s motion to stay.
26   The parties are Ardagh Glass Inc.; Ball Corporation; Boyer Towing, Inc. and Boyer Logistics, Inc.

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 1   (who participate in the Duwamish Allocation as a single Participating Party); Continental Holdings
 2   Inc.; Duwamish Shipyard, Inc.; Ford Motor Company; International Paper Company; The Lynden
 3   Parties; Puget Sound Energy; S&JA Hale Family Limited Partnership; Silver Bay Logging, Inc.;
 4   and Wells Fargo Bank, N.A.
 5

 6          I declare under penalty of perjury that the foregoing is true and correct.
            EXECUTED this 18th day of August, 2022, at Seattle, Washington.
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 8                                                        /s/ Mark W. Schneider
                                                          Mark W. Schneider
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